                                     Case 19-40401-mxm7                       Doc 528   Filed 04/20/22
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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:      1
                                                                                                       ASSET CASES

Case No.:                    19-40401-mxm7                                                                                                                  Trustee Name:                                Laurie Dahl Rea
Case Name:                   SAS HEALTHCARE, INC.                                                                                                           Date Filed (f) or Converted (c):             01/29/2020 (c)
For the Period Ending:       4/20/2022                                                                                                                      §341(a) Meeting Date:                        03/24/2020
                                                                                                                                                            Claims Bar Date:                             08/31/2020

                                 1                                               2                              3                                  4                         5                                           6

                        Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds                Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned                Received by                Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       VOID                                                                           $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Imported incorrectly.
2       Operating Account at Chase, xxxxxx5130                                         $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. This account had negative $60.00 at conversion.
3       Payroll Account at Chase, xxxxxx5205                                           $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. This account held $0 at conversion.
4       Savings Account at Chase, xxxxxx5161                                           $0.03                                    $0.03                                             $0.00                                              FA
Asset Notes:     Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. This account had 3 cents at conversion. Too small
                 to administer.
5       DIP Operating Account at Chase, xxxxxx7229                            $146,548.18                            $146,522.98                                          $146,522.98                                                FA
Asset Notes:      Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. Received these funds ($146,522.98) on 3/5/20 at
                  East West Bank trustee account, moved to new trustee account at Independent Bank on 3/25/20. Substantially all assets used in business sold per order at Docket 190 dated 3/29/19. See sale
                  motion (Docket 67) and APA (Docket 59). Cash and A/R not sold.
6       Prof. Fees Account at Chase, xxxxxx7211                                $169,180.70                            $169,180.70                                           $169,180.70                                              FA
Asset Notes:     Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. Received these funds on 3/5/20 in East West Bank
                 trustee account and moved to new trustee account at Independent Bank on 3/25/20. Substantially all assets used in business sold per order at Docket 190 dated 3/29/19. See sale motion
                 (Docket 67) and APA (Docket 59). Cash and A/R not sold.
7       Mortgage Account at Chase, xxxxxx5213                                       $0.00                                     $0.00                                               $0.00                                              FA
Asset Notes:     Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. At the time of conversion this account contained
                 $0.
8       Mortgage Account at Southside, xxxxxx4272                                   $0.00                                   $0.00                                                 $0.00                                              FA
Asset Notes:      Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. At conversion this account has negative $8.51. Per
                  341 record Southside lien paid in full at closing of sale. Sale order at Docket 190, paragraph 13 allows payment of Southside undisputed secured claim.
9       Operating Account at Wells Fargo, xxxxxx4297                                       $0.00                                $0.00                                              $0.00                                             FA
Asset Notes:      Debtor filed 1019 schedule on 5/26/20, see Docket No. 330 in 19-40401, updating this asset. Brad Oldham testified about it at 341 meeting. At conversion, this account had $0.
10      VOID                                                                           $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Imported incorrectly.
11      VOID                                                                           $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Imported incorrectly.
12      VOID                                                                           $0.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      Imported incorrectly.
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                                                                                                      ASSET CASES

Case No.:                   19-40401-mxm7                                                                                                                   Trustee Name:                               Laurie Dahl Rea
Case Name:                  SAS HEALTHCARE, INC.                                                                                                            Date Filed (f) or Converted (c):            01/29/2020 (c)
For the Period Ending:      4/20/2022                                                                                                                       §341(a) Meeting Date:                       03/24/2020
                                                                                                                                                            Claims Bar Date:                            08/31/2020

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                        Asset Description                                    Petition/                 Estimated Net Value                     Property                 Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                    Unscheduled                (Value Determined by                     Abandoned                Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                 Value                          Trustee,                    OA =§ 554(a) abandon.           the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

13      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
14      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
15      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
16      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
17      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
18      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
19      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
20      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
21      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
22      VOID                                                                           $0.00                                   $0.00                                              $0.00                                            FA
Asset Notes:     Imported incorrectly.
23      Refund checks from various payors                                           $4,966.14                             Unknown                                            $14,406.92                                            FA
Asset Notes:      At the time of conversion, the debtor held three checks: $11.28 from Inmar Rx Solutions; $4,864.86 from Humana Tricare; and $90 from BCBS of Texas. These were not sold to buyer. See
                  Docket No. 330 filed on 5/26/20. These three checks deposited into estate bank account on 2/18/20 (East West Bank, then moved to new Trustee bank account at Independent Bank on
                  3/25/20). Since then other refunds unknown at the time of conversion have been deposited in this account.
24      Preferential Transfer Suits Filed by Trustee                (u)                 $0.00                            $97,118.95                                      $38,746.29                                                FA
Asset Notes:     The trustee filed 7 preferential transfer suit:
                 1. Synchrony Bank - Adv. Case No. 21-4001 - Adv. dismissed 5/4/21.                  Sued for $7,087.33, but later determined the debtor's records did not support the claim and dismissed AP.
                 2. Angelica - Adv. Case No. 21-4002 - Sued for $10,106.83, Settled for $5,000.00, Adv. Dismissed 5/4/2021
                 3. Capital One Financial - Adv. Case No. 21-4003 - Sued for $20,000.00, Settled for $14,000 - Adv. Dismissed 6/8/2021
                 4. eSolutions - Adv. Case No. 21-4004 - Sued for $10,995.06, Settled for $8,246.29 - payment rec'd 7/22/2021, Adv. Dismissed 8/23/2021
                 5. De Lage Landen Financial Services d/b/a NDS Leasing - Adv. Case No. 21-4005 - Sued for $8,447.55, Settled for $3,500.00 - Adv. Dismissed 6/8/2021
                 6. Medline Industries, Inc. - Adv. Case No. 21-4006 - Sued for $15,341.91, Settled for $3,500.00 - payment rec'd 7/06/2021, Adv. Dismissed 8/23/2021
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Case No.:                      19-40401-mxm7                                                                                                                   Trustee Name:                                Laurie Dahl Rea
Case Name:                     SAS HEALTHCARE, INC.                                                                                                            Date Filed (f) or Converted (c):             01/29/2020 (c)
For the Period Ending:         4/20/2022                                                                                                                       §341(a) Meeting Date:                        03/24/2020
                                                                                                                                                               Claims Bar Date:                             08/31/2020

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                          Asset Description                                     Petition/                  Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                     Unscheduled                 (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
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                    7. TIAA - Adv. Case No. 21-4007 - Sued for $25,140.27, Settled for $4,500.00 - payment rec'd 11/23/2021, Adv. Dismissed 11/23/2021
 Ref. #
25      Preferential Transfers Settled Without Suits                               $255,514.10                             $255,514.10                                           $35,384.62                                    $73,942.99
Asset Notes:   1. Bourland Wall Wenzel - $59,257.50, Settled for: $10,361.25.
               2. RediAnswer - $25,536.96, Settled for: $12,768.48.
               3. City of Arlington - $19,509.79, Settled for $9,754.89.
               4. Whitley Penn - $49,797.27, discovered that only $11,565 was subject to avoidance under 547(b) and WP had defenses under 547(c); Settled for waiver of ch. 7 admin claim of $5253.00.
               5. Cirro Energy - $27,469.59, Settled for: $2,500.00.
               6. Tolling agreement with Viyu Network ($34,166.15 potential preference). Still working on evaluating defenses and possible settlements or suit.
               7. Tolling agreement with City of Garland ($39,776.84 potential preference). Still working on evaluating defenses and possible settlements or suit.
26       TRANSFERS MADE IN 90 DAYS PRIOR TO                                $4,029,183.73                                    $0.00                                             $0.00                                                    FA
         PETITION DATE
Asset Notes:      29 of the transferees listed on SOFA question 3 (totaling $4,029,183.73) determined not recoverable as preferential transfers after due diligence because (1) the elements of 547(b) were not
                  present; (2) a defense under 547(c) was presented by the transferee or determined by the trustee; (3) amount was too small; and/or (4) venue issues.
27       Payments made in year prior to bankruptcy                                $848,898.72                             $848,898.72                                                 $0.00                                            FA
Asset Notes:      The transfers made in the one year prior to the filing to insiders or for the benefit of insiders do no appear to be recoverable because they are payroll and in the OCB. were payments for
                  secured debts, or were too small to pursue.
28       Check received from US Treasury for $1,257.90.              (u)                    $0.00                               $1,257.90                                            $1,257.90                                         FA
       No indication of reason.
Asset Notes:     Check received from US Treasury for $1,257.90. No indication of reason.


TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                                 $5,454,291.60                          $1,518,493.38                                           $405,499.41                                  $73,942.99




     Major Activities affecting case closing:
       04/18/2022      Working on claims objections.
       03/03/2022      Filed 2021 Tax Return
       02/28/2022      Filed 2 final preference suits.
       09/30/2021      Working on 2 final preference claims.
                       Trustee working on response to IRS 2017 ESRP Notice.
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Case No.:                  19-40401-mxm7                                                                                                                   Trustee Name:                                Laurie Dahl Rea
Case Name:                 SAS HEALTHCARE, INC.                                                                                                            Date Filed (f) or Converted (c):             01/29/2020 (c)
For the Period Ending:     4/20/2022                                                                                                                       §341(a) Meeting Date:                        03/24/2020
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                       Asset Description                                     Petition/                 Estimated Net Value                    Property                  Sales/Funds               Asset Fully Administered (FA)/
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     09/09/2021     Fifth and Sixth Omnibus Claims objections filed and pending.
                    Several individual claims objections filed.
                    Claims objections still in process.
     06/23/2021     First Omnibus Objection to duplicate claims filed in SAS Healthcare filed on 6/22/2021 [Dkt. No. 420]
                    Second Omnibus Objection to claims already paid filed in SAS Healthcare filed on 6/23/2021 [Dkt. No 421]
                    Third Omnibus Objection to Claims with no Supporting Docs filed in SAS Healthcare filed on 6/28/2021 [Dkt. No. 423]
                    Fourth Omnibus Objection to Claims owed by a different debtor filed in SAS Healthcare filed 7/2/2021 [Dkt. No. 424]


                    Additional claims objections will be filed.
     01/29/2021     Filed 7 preference actions. Entered into 11 tolling agreements. Resolved other potential chapter 5 actions indicated on the SOFA or determined defenses applied.
     01/06/2021     Trustee and counsel are evaluating all potential chapter 5 avoidance actions.
                    Some settlements have been reached. Motions to approve settlements of chapter 5 actions have been filed and are pending approval of the Court.
                    Trustee and counsel are evaluating claims and potential objections to claims. Objections to claims to be filed.
                    If tax returns are necessary for 2020, the trustee will have them prepared and filed.


Initial Projected Date Of Final Report (TFR):          01/31/2023                           Current Projected Date Of Final Report (TFR):              01/31/2023                /s/ LAURIE DAHL REA
                                                                                                                                                                                 LAURIE DAHL REA
